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AO 187 (Rev. 7/87) Exhibit and Witness List



                                       UNITED STATES DISTRICT COURT
                                              EASTERN           DISTRICT OF      LOUISIANA



          UNITED STATES OF AMERICA
                                                                                EXHIBIT AND WITNESS LIST
                      V.
       JASON R. WILLIAMS AND NICOLE E.
                                                                                     Case Number: 20-cr-055 “F”
                   BURDETT

PRESIDING JUDGE                                      GOVERNMENT’S ATTORNEY                   DEFENDANT’S ATTORNEY
                                                                                             William Gibbens, Michael Magner and
             Martin L.C. Feldman                        Kelly Uebinger and David Ayo
                                                                                                        Avery Pardee
EVIDENTIARY HEARING DATE (S)                         COURT REPORTER                          COURTROOM DEPUTY
               October 22, 2020                                    Toni Tusa                               Cherie Stouder
GOV.    DEF.      DATE
                              MARKED      ADMITTED                         DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.    NO.      OFFERED

                                                     1, 2, 10, 15, 3, 4, 5A-D, 6, 24, 25, 12, 22, 26, 11 (Under Seal) and the Grand
         X     10/22/2020         X           X
                                                     Jury Testimony of S/A Moore to prove bias and vindictiveness (Under Seal)
 X             10/22/2020         X           X      6 and 10
